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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO, et al.,

                 Plaintiffs,

           v.                                  Civil Action No. 5:21-cv-844 (XR)
                                               (consolidated cases)
GREGORY W. ABBOTT, et al.,

                 Defendants.




          UNITED STATES’ MOTION FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       Texas Senate Bill 1 (SB 1) requires Texas election officials to reject mail ballot materials

if a voter fails to correctly recite identification numbers that are not material to determining the

voter’s qualifications to vote or to vote by mail. SB 1 thus violates Section 101 of the Civil

Rights Act of 1964, 52 U.S.C. § 10101 (a)(2)(B) (Section 101). Facts material to this

determination are not disputed, as even the Director of the Elections Division of the Office of

Texas Secretary of State (SOS) has acknowledged that identification numbers are unrelated to

voter qualifications. And as a practical matter, identification numbers are neither necessary to

establish voter identity nor ordinarily used to do so. Nonetheless, SB 1 has required more than

36,000 mail ballots to be rejected—including more than 11,000 ballots in the November 2022

general election alone—and over 2.6 million registered voters remain particularly vulnerable to

disenfranchisement due to incomplete or erroneous State records. The State’s flawed voter

registration database magnifies SB 1’s harms, as some qualified Texas voters who comply fully

with SB 1 mandates nonetheless face disenfranchisement through no fault of their own. Indeed,

about one in seven Texas voters can accurately complete mail ballot materials but still be denied

the statutory right to vote based on SB 1. Because SB 1 requires election officials to reject mail

ballots materials for errors or omissions that are not material to establishing a voter’s

qualifications to vote under Texas law, this Court should grant summary judgment in favor of the

United States on its Section 101 claim.

                                          BACKGROUND

       Texas Senate Bill 1 (SB 1) is an omnibus election law that restricts eligible voters’ ability

to cast a mail ballot and have that ballot counted. See Election Integrity Protection Act of 2021,

Tex. S.B. 1, 87th Leg., 2d C.S., ch. 1 (2021). Texas law has long required that eligible voters




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who seek to cast a ballot by mail “must make an application for an early voting ballot,” Tex.

Elec. Code § 84.001(a), (f), and that voters must return mail ballots “in the official carrier

envelope,” id. § 86.006, or—in the case of members of the military, military family members,

and overseas citizens—in an ordinary envelope along with “a signature sheet,” a form on which

the voter may provide a signature and other required information, see id. § 101.107(b). SB 1

newly requires voters to provide “the number of the applicant’s [Texas] driver’s license, election

identification certificate, or a personal identification card issued by the Department of Public

Safety” (DPS number) on mail ballot applications, carrier envelopes, and signature sheets, even

if the identification is no longer valid. Tex. Elec. Code § 84.002(1-a)(A), (b-1); id.

§ 86.002(g)(1), (h). SB 1 then directs that voters who have never been issued a DPS number

must either provide the last four digits of their Social Security number (SSN4) or state that they

have never been issued a DPS number or SSN. See Tex. Elec. Code § 84.002(1-a)(B)-(C); id.

§ 86.002 (g)(2)-(3). 1 Section 5.07 of SB 1 requires that early voting clerks “shall reject” mail

ballot applications that do not include a DPS number or SSN4 that identifies “the same voter

identified on the applicant’s application for voter registration.” Tex. Elec. Code § 86.001(f).

Similarly, Section 5.13 of SB 1 establishes that a mail ballot “may be accepted only if” the DPS

number or SSN4 on the carrier envelope or signature sheet identifies “the same voter identified

on the applicant’s application for voter registration.” Tex. Elec. Code § 87.041(b)(8).

       To implement SB 1, the SOS has issued updated forms and materials, including the

application for a ballot by mail (ABBM), the mail ballot carrier envelope, the signature sheet,



1
 Very few voters can simply state on mail voting materials that they have never been issued a
DPS number or SSN. See, e.g., Carolyn Puckett, The Story of the Social Security Number, 69
Soc. Sec. Bull., no. 2, 2009, at 55 (explaining that “nearly every legal resident of the United
States” has been issued a Social Security Number), available at https://perma.cc/PP2Z-V3E5.


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and guidance documents. U.S. Statement of Undisputed Facts (SUF) ¶¶ 23, 80, 82-84, 90-91

(attached). Official forms required to obtain and cast a mail ballot direct voters to provide a

single identification number, which must be a DPS number if the voter has been issued DPS

identification. SUF ¶¶ 92-95. Specifically, the updated ABBM now directs voters to

“PROVIDE ONE” identification number, a DPS number or—if the voter “do[es] not have” DPS

identification—their SSN4, and the carrier envelope and signature sheet instruct voters that they

“MUST PROVIDE ONE OF THE FOLLOWING NUMBERS,” a DPS number “OR”—if the

voter “do[es] not have” DPS identification—their SSN4. SUF ¶¶ 92-94. None of these

documents suggests that any voter may provide either a DPS number, a SSN4, or both, let alone

advises voters to provide both numbers. SUF ¶ 95. Guidance from the SOS directs local

officials to reject ABBMs and carrier envelopes that do not bear a DPS number or SSN4 that

matches voter registration records. SUF ¶ 35, 90, 100-103.

       Following SB 1’s effective date, the SOS identified that incomplete records in the Texas

Election Administration Management (TEAM) system could interfere with the ability of many

qualified voters to cast a mail ballot that would be counted under the new requirements. SUF

¶ 131. Over a year later, nearly 190,000 Texas voters who have been issued DPS identification

still lack a DPS number in TEAM records, and more than 90,000 Texas registered voters have

neither a DPS number nor a SSN4 affiliated with their voter registration record. SUF ¶¶ 140-

141. In addition, roughly 2.4 million Texas voters have only one of their multiple DPS numbers

in TEAM, and TEAM remains error-ridden, including over 60,000 DPS numbers inconsistent

with DPS records and nearly 45,000 SSN4s inconsistencies between TEAM and DPS databases.

SUF ¶¶ 142-144. In light of these persistent inadequacies, both the SOS and county officials

have directed duly registered and qualified Texas voters whose registration records are




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incomplete or erroneous for SB 1 purposes to submit new voter registration applications. SUF

¶ 105.

         SB 1 has resulted in widespread rejection of otherwise valid mail ballot materials.

TEAM lacks records adequate to determine the number of ABBMs rejected statewide on account

of SB 1, SUF ¶¶ 149, 151, but data produced by Bexar County and Harris County alone

document over 3,000 ABBM rejections in the November 2022 General Election for failure to

meet SB 1 requirements, only about 1,200 of which were successfully cured. SUF ¶ 152(b)-(c).

In the March 2022 primary election, more than 25,000 ballots were rejected statewide based on a

mismatched or missing DPS number or SSN4. SUF ¶¶ 153-154. Primary runoffs and a

constitutional amendment election in May 2022 featured mail ballot rejection rates well above

pre-SB 1 norms. SUF ¶ 155-156, 174-177. And in the November 2022 general election, SB 1

required officials across Texas to reject more than 11,000 mail ballots. SUF ¶ 161.

         The individual experiences of voters and county officials illustrate the widespread harms

caused by SB 1. For example, in the 2022 primary election, Ms. Pam Gaskin, a 75-year old

voter who had been registered to vote in Fort Bend County for over 40 years, had her ABBM

rejected after she followed the form’s instructions and submitted her Texas Driver License

number, which she later learned was not in the voter registration database. SUF ¶¶ 180-181.

And in the general election, Mr. Roberto Benavides, a 76-year old voter in Travis County,

attempted to respond to a notice of mail ballot rejection, but his efforts to cure were unsuccessful

and his vote went uncounted. SUF ¶ 182-185. Local election officials eventually informed Mr.

Benavides that the Texas Driver License number in his voter registration record contained a

typo. SUF ¶ 184. More broadly, county election officials reported voter confusion and

frustration, including cases of voters discarding carrier envelopes that election officials had




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returned due to a failure to meet SB 1 requirements rather than taking additional steps to

overcome the ballot rejection. SUF ¶¶ 99, 186. And in the 2022 general election, five

individuals who successfully submitted a Federal Post Card Application—a ballot request form

available only to members of the military, military family members, and overseas citizens, see 52

U.S.C. § 20302(a)(4)—had ballots rejected for failure to meet SB 1 requirements. SUF ¶ 163.

         DPS numbers and SSN4s required by SB 1 are not used to ensure that voters are qualified

to vote or to cast a mail ballot under Texas law, to identify voters, or to flag potential fraud. Mr.

Keith Ingram, then serving as Director of the Elections Division of the SOS, thus acknowledged

in a 2022 deposition that “individual eligibility criteria ha[ve] nothing to [d]o with the number.”

SUF ¶ 15. 2 Nor do election officials ordinarily use these numbers to look up voter records, and

the SOS does not instruct them to do so. SUF ¶¶ 118-120. Rather, election officials look up

voters using other information on mail ballot materials—such as the voter’s name, date of birth,

and address—just as they did before SB 1. SUF ¶ 120. Election officials must also verify a

voter’s identity using the signature by which the voter attests to identity and eligibility, just as

they did before SB 1. Tex. Elec. Code § 87.041(b)(2); SUF ¶ 65. Further, the SOS and county

officials do not consider a DPS number or SSN4 mismatch or omission to be evidence of fraud.

SUF ¶¶ 187-191. And because matching a DPS number or SSN4 against incomplete and

erroneous voter registration records fails to identify some voters accurately and requires election

officials to reject mail ballot materials from those voters, who simply followed instructions on

applications, carrier envelopes, and signature sheets and provided accurate information. SUF

¶¶ 34-36, 51, 92-94, 100-103, 131, 134-137, 139-146, 180-185.




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    Mr. Ingram now serves as a project manager within the Elections Division. SUF ¶ 16.


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       Some state and local officials have taken substantial measures to mitigate SB 1’s impact

on voters, particularly in response to widespread rejections of ballot applications and mail ballots

during the March 2022 primary election. SUF ¶ 122. Although SB 1’s text establishes a

hierarchy of identification—with voters who have a DPS number required to provide that

number and only voters who lack a DPS number permitted to provide a SSN4, see Tex. Elec.

Code §§ 84.002(a)(1-a), 86.002(g); SUF ¶¶ 32, 50—officials have accepted a SSN4 from voters

with a DPS number on file. SUF ¶ 96. Similarly, state officials have recommended that voters

provide both a DPS number and SSN4, and some counties have added inserts to mail voting

materials with similar guidance. SUF ¶¶ 97, 123. However, the continued presence of a

hierarchy of identification on official forms and instructions has puzzled voters and inhibited

efforts to reduce disenfranchisement. SUF ¶ 124. Moreover, counties have spent significant

sums to implement SB 1’s mail ballot provisions. SUF ¶ 125. But even as counties strive to

develop and share best practices, long-term implementation of those practices will require

sustained local resources. SUF ¶ 122.

       Despite these efforts, SB 1 continues to disenfranchise Texas voters at historic rates. In

the November 2022 general election, officials initially rejected 4.1% of mail ballots returned, and

over 80% of those ballots were rejected based on the SB 1 mail ballot requirements. SUF

¶¶ 158, 161. Ultimately, more than 50% of individuals whose mail ballots were rejected due to

SB 1 did not successfully cure their mail ballot or vote in person. SUF ¶ 158. The 2.7% final

mail ballot rejection rate is nearly three times the national average and well above historical

rejection rates in Texas. SUF ¶¶ 157, 159-160. Ms. Christina Adkins, Acting Director of the

Elections Division of the SOS, has acknowledged that mail ballot rejection may persist at current

rates, SUF ¶ 179, and county officials uniformly agree that good faith implementation of SB 1




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cannot eliminate rejection of mail ballot applications and mail ballots entirely, SUF ¶ 126.

Rather, the undisputed facts establish that, unless enjoined, SB 1 will continue to disenfranchise

Texas voters based on errors or omissions not material to determining whether a voter is

qualified under State law to vote or vote by mail.

                                 STATUTORY BACKGROUND

       Section 101 of the Civil Rights Act of 1964, as amended, prohibits persons acting under

color of law from denying “the right of any individual to vote in any election because of an error

or omission on any record or paper relating to any application, registration, or other act requisite

to voting, if such error or omission is not material in determining whether such individual is

qualified under State law to vote in such election.” 52 U.S.C. § 10101(a)(2)(B). The term

“vote” here “includes all action necessary to make a vote effective including, but not limited to,

registration or other action required by State law prerequisite to voting, casting a ballot, and

having such ballot counted.” Id. § 10101(e); see also id. § 10101(a)(3)(A). “Section 101, as a

result, does not only apply when a voter is absolutely prohibited from voting” and does not

permit “state actors [to] initially deny the right to vote based on errors or omissions that are not

material as long as they institute cure processes.” La Unión del Pueblo Entero v. Abbott, 604 F.

Supp. 3d 512, 541 (W.D. Tex. 2022). This provision was “necessary to sweep away such tactics

as disqualifying an applicant who failed to list the exact number of months and days in his age.”

Condon v. Reno, 913 F. Supp. 946, 950 (D.S.C. 1995); see also, e.g., United States v. Crawford,

229 F. Supp. 898, 901-02 (W.D. La. 1964) (describing practice of denying registration to Black

“applicants on account of errors or omissions in their application forms while registering white

applicants who have made similar errors or omissions”), rev’d on other grounds sub nom. United

States v. Clement, 358 F.2d 89 (5th Cir. 1966).




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                                       LEGAL STANDARD

       Summary judgment should be granted “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); Rodriguez v.

Pacificare, Inc., 980 F.2d 1014, 1019 (5th Cir. 1993). A genuine dispute of fact exists “if the

evidence is such that a reasonable jury could return a verdict for the nonmoving party,” and a

fact is material is if it “might affect the outcome of the suit under the governing law.” Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); see also Wiley v. State Farm Fire & Cas. Co.,

585 F.3d 206, 210 (5th Cir. 2009). When considering a motion for summary judgment, courts

“must draw all reasonable inferences in favor of the nonmoving party” and “may not make

credibility determinations or weigh the evidence.” Reeves v. Sanderson Plumbing Prods., Inc.,

530 U.S. 133, 150 (2000); see also Anderson, 477 U.S. at 250 (“The inquiry performed is the

threshold inquiry of determining whether there is the need for a trial.”).

                                           ARGUMENT

       SB 1 violates Section 101 by requiring officials to reject mail ballot applications and mail

ballots if applications, carrier envelopes, and signature sheets lack a DPS number or SSN4 that

matches voter registration records, a criterion not material to determining a voter’s qualifications

under Texas law. To violate Section 101, a state law must (1) deny the right of any individual to

“vote” in an election (as defined), (2) based on an “error or omission,” (3) on a “record or

paper,” (4) “relating to any application, registration, or other act requisite to voting,” and (5) that

is not “material in determining whether” that “individual is qualified under State law to vote in

such election.” 52 U.S.C. § 10101(a)(2)(B); see also Migliori v. Cohen, 36 F.4th 153, 162 &




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n.56 (3d Cir. 2022), judgment vacated sub nom. Ritter v. Migliori, 143 S. Ct. 297 (2022). 3 The

undisputed facts establish all five elements here. Thus, SB 1 has forced Texas election officials

to reject tens of thousands of mail ballot applications and mail ballots in violation of federal law,

denying Texas voters the statutory right to vote protected by Section 101. And in many cases,

SB 1 has required officials to discard valid votes cast by Texans fully qualified to vote under

State law, including voters who faithfully followed SB 1 mandates but whose materials were

rejected solely because of State database errors.

    I.      SB 1 Mail Ballot Provisions Deny the Statutory Right to Vote in an Election.

         SB 1 requires state officials to deny the statutory right of individuals “to vote in an

election,” 52 U.S.C. § 10101(a)(2)(B), by rejecting submission of mail ballot applications and

submission of mail ballot carrier envelopes or signature sheets, “action[s] required by State law

prerequisite to voting, casting a ballot, and having such ballot counted,” id. § 10101(a)(3)(A), (e)

(defining “vote”). The statutory right to vote protected by Section 101 is expansive because the

provision “defines the term ‘vote’ broadly [to] include[] all action necessary to make a vote

effective.” La Unión del Pueblo Entero, 604 F. Supp. 3d at 540 (citing 52 U.S.C.

§§ 10101(a)(3)(A), (e)). Because “vote” includes the entire voting process, “that addition to the




3
 The Supreme Court vacated Migliori after the underlying dispute became moot. See Ritter v.
Migliori, 143 S. Ct. 297 (2022) (citing United States v. Munsingwear, Inc., 340 U.S. 36 (1950)).
Despite this vacatur, the substantive analysis in Migliori remains convincing. See Gutierrez v.
Saenz, 565 F. Supp. 3d 892, 903-04 (S.D. Tex. 2021); see also, e.g., United States v. Ambriz, 727
F.3d 378, 384 n.8 (5th Cir. 2013) (relying on “a case that was vacated for other reasons”); Free
Speech Coal., Inc. v. Att’y Gen. United States, 974 F.3d 408, 427 (3d Cir. 2020) (relying on
vacated opinion whose “prior analysis continues to resonate”).



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plain meaning controls.” Tanzin v. Tanvir, 141 S. Ct. 486, 490 (2020). Thus, the rejection of

mail ballot materials mandated by SB 1 fulfills the first element of a Section 101 claim. 4

        A.      SB 1 Requires Officials to Reject Certain Mandatory Mail Voting Materials.

        Under Texas law, “[t]o be entitled to vote an early voting ballot by mail, a person who is

eligible for early voting must make an application for an early voting ballot to be voted by mail,”

either an ABBM or a Federal Post Card Application. Tex. Elec. Code §§ 84.001(a), 101.052(e);

SUF ¶¶ 21-28; see also La Unión del Pueblo Entero, 604 F. Supp. 3d at 540-41. And after

obtaining and marking a mail ballot, most voters must “place it in the official ballot envelope and

then seal the ballot envelope, place the ballot envelope in the official carrier envelope and then

seal the carrier envelope, . . . sign the certificate on the carrier envelope,” and then return the

carrier envelope to the early voting clerk. Tex. Elec. Code §§ 86.005(c), 86.006; SUF ¶ 47; see

also La Unión del Pueblo Entero, 604 F. Supp. 3d at 540-41. Only military and overseas voters

may return ballots without an official carrier envelope; they may provide a signature sheet inside

an ordinary envelope or alongside a ballot returned by fax. See Tex. Elec. Code §§ 101.057,

101.107; SUF ¶¶ 48-49. “Therefore, the preparation and submission of an application to vote by

mail, as well as the preparation and submission of a mail ballot carrier envelope [or signature



4
  Section 101 does not rely on a colloquial conception of the “right to vote” or on the definition
of that right for constitutional purposes. La Unión del Pueblo Entero, 604 F. Supp. 3d at 541.
Moreover, alternative constructions of Section 101 offered in dissenting and non-binding
opinions should not guide this Court’s analysis. See Ritter v. Migliori, 142 S. Ct. 1824, 1824-26
(2022) (Alito, J., dissenting); Vote.org v. Callanen, 39 F.4th 297 (5th Cir. 2022) (stay opinion);
see also Tex. Democratic Party v. Abbott, 978 F.3d 168, 176 (5th Cir. 2020) (acknowledging
motion panels do not bind merits panels). Several limiting constructions of Section 101 offered
in Ritter and Vote.org conflict with the statute’s plain text and would nullify the statute’s core
protections. See, e.g., Ritter, 142 S. Ct. at 1825 (Alto, J., dissenting) (excluding paperwork
rejection for failure to “follow the rules” from the protection of Section 101); Vote.org, 39 F.4th
at 305 n.6 (same); cf. 52 U.S.C § 10101(a)(2)(B) (establishing a statutory right to vote
notwithstanding errors on certain requisite paperwork).


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sheet], are actions that voters must take in order to make their votes effective.” La Unión del

Pueblo Entero, 604 F. Supp. 3d at 541.

       But SB 1 then requires election officials to reject mail ballot materials under specified

conditions. At the application stage, Section 5.07 of SB 1 dictates that early voting clerks “shall

reject” a mail ballot application if the DPS number or SSN4 provided “does not identify the same

voter identified on the applicant’s application for voter registration.” Tex. Elec. Code

§ 86.001(f); SUF ¶¶ 32-34; see also La Unión del Pueblo Entero, 604 F. Supp. 3d at 541. In

practice, this requires election officials to reject applications without a DPS number or SSN4 and

applications where the DPS number or SSN4 does not match current voter registration records.

SUF ¶¶ 34-35. Then at the ballot acceptance stage, Section 5.13 of SB 1 establishes that a mail

ballot “may be accepted only if” the DPS number or SSN4 “provided by the voter identifies the

same voter identified on the voter’s application for voter registration.” Tex. Elec. Code

§ 87.041(b)(8); SUF ¶¶ 50-51; see also La Unión del Pueblo Entero, 604 F. Supp. 3d at 541.

Again, the SOS has interpreted this provision to require rejection of mail ballots if the DPS

number or SSN4 is missing or does not match current voter registration records. SUF ¶¶ 51, 63.

These rejections deny the statutory right to vote and thus establish the first element of a Section

101 claim.

       The availability of in-person voting does not negate SB 1’s denial of the statutory right to

vote. Although all 50 states operate polling places on Election Day, this Court and others have

concluded that Section 101 protects against rejection of mail ballot materials. See La Unión del

Pueblo Entero, 604 F. Supp. 3d at 541 n.20; see also Migliori, 36 F.4th at 156-57; League of

Women Voters of Ark. v. Thurston, No. 5:20-cv-5174, 2021 WL 5312640, at *4 (W.D. Ark. Nov.

15, 2021); Org. for Black Struggle v. Ashcroft, 493 F. Supp. 3d 790, 803 (W.D. Mo. 2020);




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Martin v. Crittenden, 347 F. Supp. 3d 1302, 1308-09 (N.D. Ga. 2018). 5 This is because Section

101 applies to “any individual” participating in “any election” and to “any record or paper”

relating to “any application, registration, or act requisite to voting.” 52 U.S.C. § 10101(a)(2)(B)

(emphasis added); see also, e.g., United States v. Gonzales, 520 U.S. 1, 5 (1997) (explaining that

“the word ‘any’ has an expansive meaning, that is, ‘one or some indiscriminately of whatever

kind’” (quoting Webster’s Third New International Dictionary 97 (1976))).

       Mail voting is particularly vital for voters who cannot vote in person. See Martin v.

Kemp, 341 F. Supp. 3d 1326, 1339 (N.D. Ga. 2018) (finding in-person cure “illusory,

particularly for the category of voters who cannot vote in person due to physical infirmity”).

Texas law limits early voting by mail primarily to individuals for whom in-person voting may be

physically impossible or unduly burdensome. Tex. Elec. Code §§ 82.001-.004, 82.007-08,

105.001-.004; SUF ¶¶ 17, 19, 206. Some voters eligible to cast a mail ballot find it essential to

rely on the vote-by-mail provisions Texas has enacted, see SUF ¶ 199, and these voters have

been disenfranchised once their mail ballot materials were rejected based on errors or omissions

not material to voter qualifications, see SUF ¶¶ 157-158, 161, 182-186, 196. Fundamentally, “a

state that creates a system for absentee voting must administer it in accordance” with federal law.

Self Advoc. Sols. N.D. v. Jaeger, 464 F. Supp. 3d 1039, 1052 (D.N.D. 2020) (internal quotation

marks omitted); see also, e.g., Martin v. Kemp, 341 F. Supp. 3d at 1338; Raetzel v.

Parks/Bellemont Absentee Election Bd., 762 F. Supp. 1354, 1358 (D. Ariz. 1990).




5
 Some states have adopted “all-mail elections,” but this method of conducting elections “does
not preclude in-person voting opportunities on or before Election Day.” Nat’l Conf. of State
Legislatures, Voting Outside the Polling Place: Absentee, All-Mail and Other Voting at Home
Options (July 12, 2022), https://perma.cc/7N8E-WEA3.


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       In the first year of implementation, the mail ballot provisions of SB 1 resulted in

widespread rejection of applications for mail ballots and rejection of tens of thousands of mail

ballots. SUF ¶¶ 147-161. Despite extraordinary efforts by county officials, these problems

persist, and ballot rejection rates in the November 2022 election remained well above pre-SB 1

levels in Texas and nearly three times the national average. SUF ¶¶ 157-161, 175-177. The

Acting Director of the Elections Division of the Texas SOS has recognized that mail ballot

rejections may persist at current rates, SUF ¶ 179, and county officials consistently agree that

good faith implementation of SB 1 cannot eliminate mail ballot application and ballot rejection

entirely, SUF ¶ 126.

       B.      Cure Procedures Do Not Absolve a Denial of the Statutory Right to Vote.

       Denial of the statutory right to vote under Section 101 is complete when a particular

application or carrier envelope is rejected; an opportunity to cure the rejection, submit another

application, or cancel a mail ballot does not negate the denial of the statutory right to vote. See

La Unión del Pueblo Entero, 604 F. Supp. 3d at 541; see also Vote.org v. Ga. State Election Bd.,

No. 1:22-cv-1734, 2023 WL 2432011, at *7 (N.D. Ga. Mar. 9, 2023) (rejecting the “argument

that the opportunity to cure an error rehabilitates any potential violation”); Sixth Dist. of Afr.

Methodist Episcopal Church v. Kemp, 574 F. Supp. 3d 1260, 1282 (N.D. Ga. 2021) (same). SB

1 provides that mail ballot materials must be rejected if the materials lack an identification

number matching voter registration records, blocking the applicant’s ability to cast a mail ballot

or have that ballot counted. See Tex. Elec. Code §§ 86.001(f), 87.041(b)(8); SUF ¶¶ 32-35, 50-

51, 63. The existence of additional, more onerous procedures that voters could use to try to

overcome the rejection does not negate the original denial. Section 101’s plain text does not

permit election officials to reject mail ballot materials based on errors or omissions not material

to voter qualifications unless and until voters successfully provide the requested information or


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the State fixes its own database errors or omissions. See 52 U.S.C. § 10101(a)(2)(B); La Unión

del Pueblo Entero, 604 F. Supp. 3d at 541. Ultimately, even with a cure process, the fact

remains that SB 1 requires rejection of mail ballot materials if a voter does not submit an

identification number that matches voter registration records. See Tex. Elec. Code §§ 86.001(f),

87.041(b)(8); SUF ¶¶ 37, 39, 61, 63, 67-68. That rejection denies the statutory right to vote.

       Even if cure procedures were legally relevant—and they are not—cure procedures under

SB 1 do not protect the franchise because some voters cannot effectively use them to ensure their

application is accepted and their valid ballot is counted. Cf. Democratic Exec. Comm. of Fla. v.

Detzner, 347 F. Supp. 3d 1017, 1030-31 (N.D. Fla. 2018) (finding cure provisions inadequate to

resolve due process concerns when “the opportunity to cure has proven illusory”); Martin v.

Kemp, 341 F. Supp. 3d at 1339 (same). Cure limitations are most acute for applications.

Because the ABBM submission deadline and cure deadline are both 11 days before Election

Day, some voters who submit an application on or near that deadline do not receive notice of

rejection prior to the deadline to cure. See Tex. Elec. Code §§ 84.007(c), 86.001(f)-(f-2),

86.011(d); SUF ¶¶ 38-39, 200-202. Moreover, curing an application can be difficult. Currently,

only voters who have both a DPS number and SSN4 on their voter registration file can cure

defects on the face of the application using the online ballot tracker, see Tex. Elec. Code

§ 86.015(b), and as of December 2022, over 750,000 registered voters in Texas lack either a DPS

number or an SSN4 on their registration record; none of these voters can access the ballot

tracker. SUF ¶¶ 73, 137. Other voters must submit a new ABBM with a new DPS number or

SSN4 that matches one in the voter file or update their registration record by submitting a new

voter registration form or using a web application on Texas.gov. SUF ¶¶ 37.




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       Voters who attempt to cure rejection of a mail ballot for failure to meet SB 1

requirements also face substantial impediments. Following identification of a carrier envelope

defect, election officials may either return a ballot to a voter or hold the ballot and notify the

voter of the defect. Tex. Elec. Code §§ 86.011(d), 87.0271(b)-(c), 87.0411(b)-(c); SUF ¶¶ 58,

61, 67-68. When a ballot is returned to the voter, the ballot and an accompanying corrective

action form must be returned to county election officials before the polls close on Election Day,

creating a narrow window for ballot return, particularly for voters with limited availability or

mobility. See Tex. Elec. Code §§ 82.001-.004, 82.007-.008, 105.001-.004; SUF ¶¶ 67, 203, 205.

When election officials hold the ballot, most voters must either correct the identification number

in the online ballot tracker or appear in person to deliver a corrective action form to county

election officials by the sixth day after Election Day. Tex. Elec. Code §§ 87.0271(c),

87.0411(c); SUF ¶¶ 68, 203. But once again, the online ballot tracker is available only to voters

who have both a DPS number and SSN4 on their voter registration file. See Tex. Elec. Code

§ 86.015(b); SUF ¶¶ 71-73. And Texans eligible to vote by mail may be unable to return a form

in person for the same reasons they cannot vote in person; they are physically absent from their

county of residence, elderly, disabled, or the like. See Tex. Elec. Code §§ 82.001-.004, 82.007-

.008; SUF ¶¶ 19, 199, 206. In any case, some voters who return mail ballots on or immediately

before Election Day are disenfranchised by late notice of a defect. See Tex. Elec. Code §§

87.0271(c), 87.0411(c); SUF ¶¶ 204-205.

       Members of the military, military family members, and overseas citizens may cure a

rejected ballot by providing a new signature sheet with the required identification number via

email, fax, common carrier, or hand delivery. SUF ¶ 207. Although this affords military and

overseas voters with broader cure opportunities, such voters are more likely to be located where




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personal electronic communications and postal delivery are not reliably or consistently available.

SUF ¶ 208. Because the SB 1 cure process increases the number of interactions required for a

voter to complete their absentee voting process successfully, military and overseas voters are

more likely than other voters to face challenges in getting their ballot counted if their mail voting

materials contain an error or omission concerning a DPS number or SSN4. SUF ¶ 208. Thus, as

a matter of both law and uncontested fact, the SB 1 cure process does not remedy the statutory

denial of the right to vote.

    II.      SB 1 Regulates Errors or Omissions on Mail Ballot Materials.

          SB 1 requires election officials to reject mail ballot applications and mail ballots based on

errors or omissions regarding identification numbers. See Tex. Elec. Code §§ 86.001(f),

87.041(b)(8); SUF ¶¶ 32, 34-35, 50-51, 63. Acting upon such “errors or omissions” meets the

second element of a Section 101 claim. 52 U.S.C. § 10101(a)(2)(B). Specifically, if the voter

provides a DPS number or SSN4 that does not match voter registration records, it is an “error”

for SB 1 purposes. See Fla. State Conf. of NAACP v. Browning, 522 F.3d 1153, 1175 (11th Cir.

2008) (“[A]n error by definition mistakenly and incorrectly represents the underlying substantive

element”); see also Error, Black’s Law Dictionary (11th ed. 2019) (“An assertion or belief that

does not conform to objective reality.”). The result is the same if the voter makes a mistake

when recording a DPS number or SSN4, if voter registration records do not contain an accurate

number the voter has provided, or if voter registration records lack a DPS number or SSN4

entirely. Tex. Elec. Code §§ 86.001(f), 87.041(b)(8); SUF ¶ 100-102, 105. On the other hand, if

the voter provides no number at all, it is an “omission.” See Martin v. Crittenden, 347 F. Supp.

3d at 1306 (addressing “failure to provide” requested information); see also Omission, Black’s

Law Dictionary (11th ed. 2019) (“Something that is left out, left undone, or otherwise

neglected.”); 10 Cong. Rec. 6715 (1964) (Statement of Sen. Kenneth Keating) (describing


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legislative intent of Section 101 to address failure to complete paperwork calling for redundant

information). Thus, an “error or omission” under SB 1 triggers denial of the statutory right to

vote for purposes of Section 101.

   III.      SB 1 Regulates Records or Papers Related to Voting by Mail.

          SB 1 targets errors or omissions “on a[] record or paper,” 52 U.S.C. § 10101(a)(2)(B),

fulfilling the third element of a Section 101 claim. See also Tex. Elec. Code §§ 86.001(f),

87.041(b)(8); SUF ¶¶ 34-35, 51, 63. Although the Civil Rights Act does not define “record” for

purposes of Section 101, federal statutes consistently afford the term an expansive meaning. See

5 U.S.C. § 552a(a)(4) (“any item, collection, or grouping of information”); 44 U.S.C. § 2201(2)

(“documentary materials”); id. § 3301 (“all recorded information, regardless of form or

characteristics”); see also 5 U.S.C. § 552(f)(2) (noting that “record” includes information

maintained “in any format, including an electronic format”); Record, Black’s Law Dictionary

(11th ed. 2019) (“Information that is inscribed on a tangible medium or that, having been stored

in an electronic or other medium, is retrievable in perceivable form.”). Similarly, the Civil

Rights Act does not define “paper,” but that term bears an “obvious[]” meaning. Kohus v. Toys

R Us, Inc., 282 F.3d 1355, 1359 (6th Cir. 2002); see also Paper, Black’s Law Dictionary (11th

ed. 2019) (“Any written or printed document or instrument.”).

          Mail voting materials subject to SB 1 requirements are records or papers. Applications to

vote by mail typically “must be submitted in writing and signed by the applicant using ink on

paper.” Tex. Elec. Code § 84.001(b); see also Tex. Elec. Code § 84.007(b), (b-1) (requiring hard

copy return to local clerks); SUF ¶ 21; cf. Tex. Elec. Code § 101.052(a-1) (permitting eligible

voters to scan a paper Federal Post Card Application and transmit that digital record to the early

voting clerk). Most voters must then return an “official carrier envelope” to early voting clerks,

an original paper document bearing identification numbers and containing a voter’s ballot


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envelope, which in turn contains the cast ballot. See Tex. Elec. Code §§ 85.005(c); 86.006(a);

SUF ¶ 47. Even military and overseas voters who chose to return their ballots with a signature

sheet (i.e., a form on which the voter provides a signature and other required information) rather

than in a carrier envelope must, in almost all cases, return paper copies of their ballot and

signature sheet by mail, common or contract carrier, or courier. See Tex. Elec. Code

§§ 101.057(a), 101.107(b); SUF ¶ 48. Only military voters in hostile fire zones may return their

ballot and signature sheet via fax, see Tex. Elec. Code §§ 105.001(a)(2), 105.004; SUF ¶ 49, but

even this procedure both transmits a digital record and results in the printing of a paper copy

thereafter accepted or rejected. Thus, the error or omission that triggers denial of the statutory

right to vote under SB 1 occurs on a “record or paper” for purposes of establishing a Section 101

violation.

   IV.       SB 1 Regulates Materials Relating to Applications and Other Acts Requisite to
             Voting.

         SB 1 also relates directly to an “application, registration, or other act requisite to voting,”

52 U.S.C. § 10101(a)(2)(B), meeting Section 101’s fourth element. “[A]ct requisite to voting” is

a “broad statutory classification,” Kennedy v. Lynd, 306 F.2d 222, 226 (5th Cir. 1962), that

separately encompasses each method of voting authorized by the State. See Migliori, 36 F.4th at

152 n.56; see also United States v. Boards, 10 F.3d 587, 589 (8th Cir. 1993) (applying

“prerequisite to voting” to voting by mail); Kennedy v. Lewis, 325 F.2d 210, 212-12 (5th Cir.

1963) (rejecting narrow construction of “requisite to voting”). Under Texas law, “the

preparation and submission of an application to vote by mail, as well as the preparation and

submission of a mail ballot carrier envelope, are actions that voters must take in order to make

their votes effective.” La Unión del Pueblo Entero, 604 F. Supp. 3d at 541; see also Tex. Elec.

Code § 101.107(b) (permitting a subset of voters to submit a signature sheet in lieu of an official



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carrier envelope). Specifically, an ABBM is an application requisite to voting for most

individuals who seek to cast a mail ballot. See Tex. Elec. Code § 84.001(a); SUF ¶ 36.

Similarly, acceptance of a carrier envelope or a signature sheet is “an act requisite to voting” for

individuals who cast a mail ballot. See Tex. Elec. Code §§ 86.005(c), 86.006, 101.057, 101.107;

SUF ¶¶ 48, 63, 70. Once again, for purposes of Section 101, “vote” includes “all action

necessary to make a vote effective including, but not limited to, . . . casting a ballot, and having

such ballot counted and included in the appropriate totals of votes.” 52 U.S.C. § 10101(a)(3)(A),

(e). Therefore, the challenged provisions of SB 1 concern an “application, registration, or other

act requisite to voting” under Section 101.

   V.      SB 1 Requires Identification Numbers That Are Not Material to Voter
           Qualifications.

        Finally, whether a voter can accurately recite a DPS number or SSN4 recorded in voter

registration records is “not material in determining whether such individual is qualified under

State law to vote,” 52 U.S.C. § 10101(a)(2)(B), fulfilling Section 101’s fifth element. Section

101 restricts materiality to “whether such individual is qualified under State law to vote,” 52

U.S.C. § 10101(a)(2)(B); a voter’s qualifications under the statute do not extend to redundant

confirmation of voter identity or other means to identify potential election crimes, see, e.g.,

Schwier v. Cox (Schwier I), 340 F.3d 1284, 1294 (11th Cir. 2003). Ability to present a matching

identification number is not a substantive eligibility requirement under Texas law. See La Unión

del Pueblo Entero, 604 F. Supp. 3d at 540 (listing qualifications) (citing Tex. Elec. Code

§§ 11.002, 82.001-.004, 82.007-.008). As the Director of the Elections Division of the SOS

recognized, “individual eligibility criteria ha[ve] nothing to [d]o with the number.” SUF ¶ 15.

Rather, a DPS number or SSN4 “is unnecessary and therefore not material to determining an

individual’s qualifications.” La Unión del Pueblo Entero, 604 F. Supp. 3d at 542 (describing



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standard). Moreover, the identification number requirements of SB 1 are not “material” to

determining a voter’s identity, both because county officials do not ordinarily use this

information to establish voter identity and because database limitations and errors preclude

consistently accurate voter identification. See SUF ¶¶ 120, 137-145.

       A.      Identification Numbers Are Not Material to Texas Voter Qualifications.

       A DPS number or SSN4 is not material to determining whether a voter is qualified to

vote. To determine whether an error or omission is material, the information required must be

compared to qualifications to vote under state law. See Migliori, 36 F.4th at 162-63; Schwier I,

340 F.3d at 1297; Martin v. Crittenden, 347 F. Supp. 3d at 1308-09; Wash. Ass’n of Churches v.

Reed, 492 F. Supp. 2d 1264, 1270 (W.D. Wash. 2006); see also Diaz v. Cobb, 435 F. Supp. 2d

1206, 1213 (S.D. Fla. 2006) (deeming “failure to provide information, such as race or social

security number, that is not directly relevant to the question of eligibility” not to be material).

Through its focus on materiality “in determining whether such individual is qualified under State

law to vote,” Section 101 distinguishes between the few prerequisites that one must meet to be

“qualified” to vote and the many additional procedural requirements that merely enforce,

measure, or confirm those underlying qualifications. 52 U.S.C. § 10101(a)(2)(B). The category

of qualifications is limited to certain substantive characteristics, like age and citizenship, that are

“germane to one’s ability to participate intelligently in the electoral process.” Harper v. Va.

State Bd. of Elections, 383 U.S. 663, 668 (1966); see also Tex. Elec. Code § 11.002. All other

regulations—including state law concerning “protection of voters, prevention of fraud and

corrupt practices, [and] counting of votes,” Smiley v. Holm, 285 U.S. 355, 366 (1932)—fall

outside that category. Although such procedural requirements might help officials enforce the

states’ qualifications, they are not themselves voter qualifications simply because state law

mandates them. See, e.g., Arizona v. Inter Tribal Council of Ariz., Inc., 570 U.S. 1, 17 (2013)


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(distinguishing between setting qualifications and “obtaining the information necessary to

enforce . . . qualifications”). So, too, whether one is “qualified” under Section 101 turns on

whether one possesses characteristics such as age, citizenship, and residence, not whether one

“fail[s] to follow needlessly technical instructions.” Diaz, 435 F. Supp. 2d at 1213. 6

        The DPS number or SSN4 listed on a voter’s registration record is not material to

qualifications to vote or vote by mail in Texas. This Court has already set out the qualifications

to vote under the Texas Election Code, as well as the specific qualifications to cast a ballot by

mail.

        The Election Code defines a “qualified voter” as a person who is eighteen years of
        age or older, a United States citizen, a Texas resident, and a registered voter. To
        be a “qualified voter” in Texas, one also cannot be declared mentally incapacitated
        or convicted of a felony unless the voter has a fully discharged sentence or has been
        pardoned. In addition, Texas law authorizes six categories of voters to vote by
        mail: (1) those who expect to be absent during the entire voting period; (2) those
        with a disability; (3) those who will be sixty-five years or older on Election Day;
        (4) those who are confined in jail; (5) those who are involuntarily committed; (6)
        and those who are certified participants in the State’s address confidentiality
        program.

La Unión del Pueblo Entero, 604 F. Supp. at 540 (citing Tex. Elec. Code §§ 11.002, 82.001-

.004, 82.007-.008); see also SUF ¶¶ 5, 17. A DPS number or SSN4 is not material to

determining any of these qualifications, and whether an individual provides a DPS number or

SSN4 listed in voter registration records on mail ballot materials does not establish that the

individual is eighteen, a U.S. citizen, a Texas resident, and a registered voter and whether the

individual has been disenfranchised due to felony conviction or mental incapacitation. See Tex.

Elec. Code § 11.002; SUF ¶ 15. Nor does providing a DPS number or SSN4 listed in voter



6
  Because Section 101 only applies to paperwork requirements, however, most electoral
regulations fall outside of its scope. See, e.g., Democratic Cong. Campaign Comm. v. Kosinski,
614 F. Supp. 3d 20, 55 (S.D.N.Y. 2022) (distinguishing between errors regarding a voter’s
assigned polling place and errors “on any record or paper”).


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registration records at the application stage—and again on a carrier envelope or signature

sheet—establish whether an individual will be absent from their home county during the early

voting period and on Election Day, has a disability, will be 65 or older on Election Day, expects

to give birth within three weeks of Election Day, is confined in jail, has been involuntarily

committed, or is a participant in an address confidentiality program. See Tex. Elec. Code

§§ 82.001-.004, 82.007-.008; see also SUF ¶ 20. And even as a practical matter, county officials

neither need nor typically use a DPS number or SSN4 to query registration records for purposes

of identifying the voter or confirming that the voter is duly registered and has previously been

found qualified to vote. SUF ¶¶ 119-120.

       Section 101 does not permit state actors to require voters to recite redundant information

that confirms a known identity, even as a prophylactic against voter impersonation. See Schwier

v. Cox (Schwier II), 412 F. Supp. 2d 1266, 1276 (N.D. Ga. 2005) (rejecting contention that any

information that “could help to prevent voter fraud” is material to qualifications), aff’d, 439 F.3d

1285 (11th Cir. 2006). To compare the DPS number or SSN4 on mail ballot materials with a

voter’s registration record, as SB 1 requires, officials must have already discerned the voter’s

identity sufficiently to know the voter “identified on the applicant’s application for voter

registration” or “the voter’s application for voter registration.” Tex. Elec. Code §§ 86.001(f),

87.041(b)(8); SUF ¶¶ 119-120. And once election officials have determined an applicant or

voter’s identity, additional requirements that confirm identity are not material to determining

whether the applicant or voter is qualified to vote or vote by mail and compounds the chance for

error and disenfranchisement. See Schwier I, 340 F.3d at 1294. Thus, courts have found a wide

range of information—such as a driver’s license number matching state records, Wash. Ass’n of

Churches, 492 F. Supp. 2d at 1266, 1270; a social security number, Schwier v. Cox (Schwier III),




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439 F.3d 1285, 1286 (11th Cir. 2006) (mem. op.); or a birth year on an absentee ballot envelope,

Martin v. Crittenden, 347 F. Supp. 3d at 1308-09—not to be material to determining a voter’s

qualifications, even though this information could conceivably confirm a voter’s identity. So too

here. A voter’s ability to provide a DPS number or SSN4 found in voter registration records is

not material to determining whether a voter is qualified to vote under Texas law.

       B.      Identification Numbers Required by SB 1 Do Not Consistently Establish or
               Confirm Voter Identity.

       Even if information used to confirm a known voter’s identity were material to determine

whether an individual is qualified to vote under Texas law—and it is not—implementation of SB

1 has established that a voter’s DPS number or SSN4 fails to identify voters accurately. Rather,

because of inaccuracies, omissions, and incomplete records in voter registration databases, the

requirement to provide a DPS number or SSN4 on mail ballot materials subverts otherwise

accurate identification of the voter in some cases. SUF ¶¶ 139-145. There are four basic

database problems that prevent the use of a DPS number or SSN4 to confirm identity.

   1. Over two million Texas registered voters have been issued more than one DPS number,

       but the TEAM database can associate only one DPS number with each voter. SUF ¶ 142.

   2. Over 450,000 Texas registered voters do not have a DPS number associated with their

       TEAM record, although nearly 190,000 of these voters have been issued a DPS number.

       SUF ¶¶ 139-140.

   3. Over 90,000 Texas registered voters do not have a DPS number or SSN4 associated with

       their voter registration record. SUF ¶ 141.

   4. Tens of thousands of Texas registered voters have typographic errors in the DPS number

       or SSN4 listed in their registration records. SUF ¶ 144.




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A DPS number or SSN4 cannot be “material” to a voter’s qualifications based on confirmation

of identity if accurately providing that number cannot and will not identify that voter.

       The database issues outlined above have had real-world effects: voters whose registration

records are impacted by these issues are less likely to complete the mail voting process

successfully. Over 2.7 million records of registrants—15% of Texas’s statewide voter

registration database—have multiple DPS numbers, DPS numbers missing from TEAM, or

discrepancies in DPS number or SSN4 between TEAM and the DPS database. SUF ¶ 144. 6.4%

of mail ballots cast by these at-risk voters were rejected for failure to meet SB 1 requirements,

whereas only 2.8% of mail ballots cast by voters without these database issues were rejected

based on an incorrect or missing DPS number or SSN4. SUF ¶¶ 164-165. This difference is

highly statistically significant. SUF ¶ 166. More broadly, among these at-risk voters, 22.4% of

those who successfully requested a mail ballot for the November 2022 general election did not

ultimately cast a mail ballot that was counted. SUF ¶ 167. By comparison, among voters

without these database issues, only 16.2% of those who successfully requested a mail ballot for

the November 2022 general election did not ultimately cast a mail ballot that was counted. SUF

¶ 162. Once again, this difference is highly statistically significant. SUF ¶ 169. The Elections

Division of the SOS also received requests for assistance concerning voters whose registration

records lacked a DPS number, lacked the DPS number on their most recently issued

identification, or contained a typo, each of whom had mail ballot materials rejected due to SB 1.

SUF ¶¶ 170-172.

       These database issues have also proven persistent. Officials within the SOS undertook

efforts prior to the rollout of SB 1 to reduce the number of TEAM records missing DPS data.

SUF ¶¶ 132-134. The February 28, 2022, report of Dr. Eitan Hersh, an expert witness retained




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by the United States, also alerted the State concerning the four database issues noted above. SUF

¶ 135. However, Dr. Hersh’s February 3, 2023 supplemental report, based on data extracted

after the November 2022 election, found that the number of Texas registered voters who do not

have a DPS number or SSN4 associated with their voter registration record declined by less than

10% during a year of intensive implementation. SUF ¶¶ 135, 141. Moreover, the number of

registered voters with multiple DPS numbers grew over this period, the number of registered

voters with typographic errors in DPS numbers moderately declined, and the number of

registered voters with SSN4s inconsistencies held constant. SUF ¶¶ 135, 142-144. Not only

does SB 1 deny the statutory right to vote based on errors or omissions not material to voter

qualifications under Texas law, but the law fails to serve its ostensible purpose of confirming

voter identity, due to chronic errors and structural limitations in the State’s voter registration

databases. Therefore, the identification number requirements of SB 1 are not “material” to

determining whether a voter is qualified under State law to vote generally or to vote by mail

specifically, even if qualifications were erroneously extended to incorporate confirmation of a

known voter’s identity.

                                          CONCLUSION

       For the foregoing reasons, this Court should grant the United States summary judgment.

A proposed order is attached hereto.




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Date: May 26, 2023

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 26, 2023, I electronically filed the foregoing with the Clerk
of the court using the CM/ECF system, which will send notification of this filing to counsel of
record.


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